                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF TENNESSEE
                           GREENEVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      No. 2:09-CR-045
                                                  )
ADRIAN DORSEY                                     )

                                        ORDER

              This criminal case is before the court on the August 24, 2010 report and

recommendation (“R&R”) of Chief United States Magistrate Judge Dennis H. Inman [doc.

469]. Magistrate Judge Inman recommends that the defendant’s motions to suppress [docs.

419, 420] be denied as premature. There have been no objections filed within the time

allowed by 28 U.S.C. § 636(b), and no transcript of the hearing on the motion has been filed.

              De novo review by the district court of a magistrate judge’s report and

recommendation is both statutorily and constitutionally required. See United States v. Shami,

754 F.2d 670, 672 (6th Cir. 1985). However, it is necessary only to review “those portions

of the report or specified proposed findings or recommendations to which objection is made.”

28 U.S.C. § 636(b)(1).

              Even though no objections have been filed, the undersigned has nonetheless

reviewed the R&R, the defendant’s motions, and the parties’ briefing. Finding itself in

agreement with the magistrate judge, the court ADOPTS the findings of fact and conclusions

of law set out in Magistrate Judge Inman’s report and recommendation [doc. 469]. It is

ORDERED that the defendant’s motions to suppress [docs. 419, 420] are DENIED as


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premature.

             IT IS SO ORDERED.



                                               ENTER:



                                                      s/ Leon Jordan
                                                 United States District Judge




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